                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

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UNITED STATES OF AMERICA,                                       :
                                                                :
                         Plaintiff,                             : CRIMINAL NO: 2:19-cr-00064-JLS-1
         v.                                                     :
                                                                :
JOHN DOUGHERTY,                                                 :
                                                                :
                         Defendant.                             :
                                                                :
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    MOTION TO FILE JOHN DOUGHERTY’S MOTION IN LIMINE TO EXCLUDE
                    CERTAIN EVIDENCE UNDER SEAL

       Defendant, John Dougherty, by and through his undersigned counsel, hereby moves to

file under seal the concurrently submitted Motion in Limine to Exclude Certain Evidence, and

Memorandum of Law in support thereof, attached hereto as Exhibit A. In support thereof, Mr.

Dougherty avers as follows:

       1.      On January 29, 2019, a 116-count federal indictment was unsealed, naming John

Dougherty and seven other individuals as defendants. See Dkt. No. 1.

       2.      During the course of the government’s investigation, the government sought and

obtained eighteen months of recordings of Mr. Dougherty’s and others’ private conversations,

pursuant to Title III of the Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C.

§ 2510, et seq. Additionally, the government presented evidence before a grand jury over a

multiple-year period.

       3.      The government has now indicated that at trial, which is set to open on October 4,

2021, it intends to offer a number of the Title III recordings as well as evidence that it presented

before the grand jury convened in this matter.
       4.      Mr. Dougherty now seeks to preclude, by way of a narrowly tailored Motion in

Limine, certain highly prejudicial and irrelevant evidence pursuant to Rules 401, 402, 403 and

701 of the Federal Rules of Evidence.

       5.      Given the highly prejudicial nature of this evidence and the high-profile nature of

this proceeding, Mr. Dougherty seeks to file his Motion in Limine under seal.

       6.      “[T]he right to inspect and copy judicial records is not absolute.” Nixon v.

Warner Commc’ns, 435 U.S. 589, 598 (1978). Rather, “[e]very court has supervisory power

over its own records and files, and access has been denied where court files might have become a

vehicle for improper purposes.” Id.; see also FED RULES CRIM. PROC. R. 49.1 (“The court may

order that a filing be made under seal without redaction.”).

       7.      While there is a presumption of public access to judicial records – i.e., those filed

or somehow “incorporated or integrated into a district court’s adjudicatory proceedings” – the

presumption may be rebutted where “the interest in secrecy outweighs the presumption.” In re

Avandia Mktg., Sales Practices & Prods. Liab. Litig., 924 F.3d 662, 672 (3d Cir. 2019)

(quotation marks and citations omitted). Where the material that is sought to be disclosed “is the

kind of information that courts will protect” and “disclosure will work a clearly defined and

serious injury to the party seeking closure,” the presumption is rebutted.” Id.

       8.      Title III also recognizes the need to protect individuals from an unnecessary

intrusion into their personal communications as well as the need to ensure that those

communications are not made public prior to trial. See United States v. Vento, 533 F.2d 838, 844

(3d Cir. 1976) (“Title III obliges the courts to measure the permissible use of sophisticated

electronic investigative tools against the specific restraints [including the necessity requirement]

imposed by Congress to avoid undue intrusions upon privacy.”).




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        9.      Consistent with Title III, the recordings that Mr. Dougherty seeks to preclude in

part from trial have never been made public, and contain highly sensitive material, some of

which is personal in nature.

        10.     Further, the evidence that Mr. Dougherty seeks to exclude from trial is irrelevant

and should thus, remain under seal. Disclosure of these materials approximately three weeks

before a jury is to be impaneled would serve no legitimate purpose and would negatively impact

Mr. Dougherty’s ability to not only pick a jury but also to have a fair trial.

        11.     Additionally, sealing is appropriate in order to comply with the Protective Order

the Court entered on April 18, 2019. (Dkt. No. 76 (limiting disclosure of materials provided in

discovery to “as is necessary to prepare for trial and for use at trial”).

        WHEREFORE, Mr. Dougherty respectfully requests that this Court grant this Motion to

File his Motion in Limine to Exclude Certain Evidence Under Seal.


 Dated: September 9, 2021                          BALLARD SPAHR LLP



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